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                  Exhibit A
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                    Exhibit 7
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                      UNITED STATES DISTRICT COURT

                    SOUTHERN DISTRICT OF NEW YORK

                                               :
ALASKA ELECTRICAL PENSION FUND, et al.,        :
                                               :
                          Plaintiffs,          :
                                               :    Civil Action No. 14-cv-7126 (JMF)
      --v--                                    :
                                               :
BANK OF AMERICA CORP., et al.,                 :
                                               :
                          Defendants.          :
                                               :



              EXPERT REPORT OF PROFESSOR PAUL MILGROM

                          HIGHLY CONFIDENTIAL
                      SUBJECT TO PROTECTIVE ORDER

                                 January 22, 2018
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                                                       T A B L E OF C O N T E N TS

I.            Assi g n m e nt                                                                                                           1

II.           B a c k gr o u n d a n d Q u alifi c ati o ns                                                                             2

III.          Dr. Pirr o n g A c c ur at el y S u m m ari z es t h e M ar k et Mi cr ostr u ct ur e Lit er at ur e
              R e g ar di n g t h e P er m a n e nt Pri c e I m p a ct of P ot e nti all y I nf or m e d M a ni p ul ati v e
              Tr a d es                                                                                                                 3

I V.          Dr. Gl ost e n F ails t o Est a blis h His Cl ai m T h at t h e Pri c e I m p a ct of M a ni p ul ati v e
              Tr a d es Is O nl y T e m p or ar y                                                                                       7

      A.      M a ni p ul ati v e Tr a d es S h o ul d b e Vi e w e d as P ot e nti all y I nf or m e d, N ot as “ U ni nf or m e d ” .. 7
      B.      P ot e nti all y I nf or m e d M a ni p ul ati v e Tr a d es R es ult i n P er m a n e nt Pri c e I m p a cts           10
V.            C o n cl usi o n                                                                                                        18
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           1.         I s u b mit t his r e p ort i n s u p p ort of Pl ai ntiffs’ m oti o n f or cl ass c ertifi c ati o n. T h e

s c o p e of m y e n g a g e m e nt a n d m y q u alifi c ati o ns ar e s et f ort h b el o w. B y w a y of b a c k gr o u n d,

t o g et h er wit h o n e of t h e D ef e n d a nts’ e x p erts, Pr of ess or L a wr e n c e R. Gl ost e n, I a m t h e c o- a ut h or

of a p a p er t h at b ot h Dr. Gl ost e n a n d Dr. Cr ai g Pirr o n g, o n e of t h e Pl ai ntiffs’ e x p erts, h a v e cit e d:

“ Bi d, As k a n d Tr a ns a cti o ns Pri c es i n a S p e ci alist M ar k et wit h H et er o g e n e o usl y I nf or m e d

Tr a d ers, ” J o ur n al of Fi n a n ci al E c o n o mi cs 1 4, n o. 1 ( 1 9 8 5): 7 1 – 1 0 0.

           2.         As I d et ail b el o w, Dr. Pirr o n g’s i nt er pr et ati o n t h at p ot e nti all y i nf or m e d

m a ni p ul ati v e tr a d es c a n h a v e a p er m a n e nt pri c e i m p a ct a c c or ds wit h t h e a n al ysis t h at Dr. Gl ost e n

a n d I p ut f or w ar d i n t h at p a p er. B y c o ntr ast, Dr. Gl ost e n’s criti q u es t h at m a ni p ul ati v e tr a d es

h a v e n o p er m a n e nt pri c e i m p a ct ar e n ot s u p p ort e d b y t h e m ar k et mi cr ostr u ct ur e lit er at ur e.

 I.         Assi g n m e nt

           3.         Pl ai ntiffs’ c o u ns el h a v e as k e d m e t o o pi n e o n t w o iss u es:

                      ( 1)       First , w h et h er Dr. Pirr o n g a c c ur at el y i nt er pr et e d t h e m ar k et mi cr ostr u ct ur e

lit er at ur e r e g ar di n g t h e pri c e i m p a ct fr o m p ot e nti all y i nf or m e d m a ni p ul ati v e tr a d es.

                      ( 2)       S e c o n d , w h et h er Dr. Gl ost e n’s cl ai m t h at t h er e is n o p er m a n e nt pri c e

i m p a ct fr o m m a ni p ul ati v e tr a d es is o v erst at e d.

           4.         B as e d o n m y e x p ertis e i n t h e ar e a of m ar k et mi cr ostr u ct ur e, i n cl u di n g t h e eff e cts

of tr a di n g a cti vit y a n d i nf or m ati o n o n pri c e, as w ell as m y e x p ertis e i n a wi d e r a n g e of fi el ds of

e c o n o mi cs, I a m of t h e o pi ni o n t h at:

                      ( 1)       Dr. Pirr o n g’s r e p ort f airl y a n d a c c ur at el y c h ar a ct eri z es t h e m ar k et

mi cr ostr u ct ur e lit er at ur e a n d t h e pri n ci pl es it t e a c h es; a n d

                      ( 2)       Dr. Gl ost e n’s ass erti o n t h at t h er e is n o p er m a n e nt i m p a ct fr o m

m a ni p ul ati v e tr a d es is u ns o u n d, as it is oft e n b as e d o n a misi nt er pr et ati o n or mis c h ar a ct eri z ati o n

of t h e r el e v a nt m ar k et mi cr ostr u ct ur e lit er at ur e.
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              5.         T h e b al a n c e of m y r e p ort is or g a ni z e d as f oll o ws:

               S e cti o n II pr o vi d es a n o v er vi e w of m y b a c k gr o u n d a n d q u alifi c ati o ns, i n cl u di n g i n t h e

 ar e a of m ar k et mi cr ostr u ct ur e.

               S e cti o n III c o ntr asts Dr. Pirr o n g’s a n d Dr. Gl ost e n’s st at e d u n d erst a n di n gs a n d

 i nt er pr et ati o ns of t h e m ar k et mi cr ostr u ct ur e lit er at ur e.

               S e cti o n I V dis c uss es Dr. Gl ost e n’s criti q u es c o n c er ni n g t h e t e m p or ar y n at ur e of pri c e

 i m p a ct fr o m m a ni p ul ati v e tr a d es.

               S e cti o n V pr o vi d es c o n cl u di n g r e m ar ks.

 II.           B a c k g r o u n d a n d Q u alifi c ati o ns

              6.         I a m t h e S hirl e y R. a n d L e o n ar d W. El y Jr. Pr of ess or of H u m a niti es a n d S ci e n c es,

S c h o ol of H u m a niti es a n d S ci e n c es, as w ell as Pr of ess or, b y c o urt es y, of M a n a g e m e nt S ci e n c e

a n d E n gi n e eri n g, S c h o ol of E n gi n e eri n g, a n d of t h e Gr a d u at e S c h o ol of B usi n ess, at St a nf or d

U ni v ersit y. I a m als o a S e ni or F ell o w at t h e St a nf or d I nstit ut e f or E c o n o mi c P oli c y R es e ar c h.

M y pri or t e a c hi n g p ositi o ns i n cl u d e: Pr of ess or of E c o n o mi cs ( 1 9 8 7 – 1 9 9 3), St a nf or d U ni v ersit y

E c o n o mi cs D e p art m e nt; Pr of ess or of M a n a g e m e nt ( 1 9 8 3 – 1 9 8 5) a n d Willi a ms Br ot h ers

Pr of ess or of M a n a g e m e nt ( 1 9 8 5 – 1 9 8 7), Y al e U ni v ersit y; a n d Assist a nt Pr of ess or a n d Pr of ess or

of E c o n o mi cs ( 1 9 7 9 – 1 9 8 3), N ort h w est er n U ni v ersit y.

              7.         M y w or k h as e ar n e d m e t h e f oll o wi n g a w ar ds a n d h o n ors:

       •      J o h n J. C art y A w ar d f or t h e A d v a n c e m e nt of S ci e n c e fr o m t h e U. S. N ati o n al A c a d e m y of

              S ci e n c es ( 2 0 1 8);

       •      C M E Gr o u p- M S RI pri z e i n I n n o v ati v e Q u a ntit ati v e A p pli c ati o ns, C hi c a g o M er c a ntil e

              E x c h a n g e a n d M at h e m ati c al S ci e n c es R es e ar c h I nstit ut e ( 2 0 1 7);

       •      B B V A F o u n d ati o n Fr o nti ers of K n o wl e d g e Pri z e ( 2 0 1 2);



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   •   Nemmers Prize in Economics, Northwestern University (2008);

   •   Member, National Academy of Sciences (2006);

   •   Honorary Doctorate, Stockholm School of Economics (2001);

   •   Fellow, American Academy of Arts and Sciences (1992);

   •   Fellow, Econometric Society (1984).

       8.      My curriculum vitae is attached as Appendix 1. It lists all of the publications that

I have authored during my career, as well as the cases or matters in which I have testified as an

expert since 2000.

       9.      I am being compensated at a rate of $1400 per hour for my work in this litigation,

and was assisted by a team working under my direction and control at Auctionomics. My

compensation is not contingent upon my opinions or the outcome in this matter. A list of the

materials that I relied upon in the preparation of this report is attached as Appendix 2.

III. Dr. Pirrong Accurately Summarizes the Market Microstructure Literature
       Regarding the Permanent Price Impact of Potentially Informed Manipulative
       Trades

       10.     Dr. Pirrong and Dr. Glosten agree that the market microstructure literature

distinguishes between two kinds of price impacts due to individual trades: (i) temporary impacts,

which are expected to be quickly reversed; and (ii) permanent impacts, which arise when a trade

is made by a trader that other market participants believe may have private information about the

value of the traded security.

       11.     Temporary price impacts: According to the market microstructure literature,

temporary price impacts can arise because market makers try to hold an ideal level of inventory,

neither too high nor too low, to perform their role as a counterparty for other traders in a security.

If a market maker with an ideal level of inventory buys a security, then after the trade it holds


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more inventory than desired, so it lowers its bid and ask prices in an attempt to bring its

inventory back toward its ideal level. After a market maker sells, the directional effects are the

opposite. According to empirical literature cited in Dr. Pirrong’s report, these price adjustments

associated with inventory rebalancing are temporary and tend to be reversed within a small

number of trades. Dr. Pirrong and Dr. Glosten do not appear to disagree on the subject of

temporary price impacts caused by market makers’ inventory rebalancing.

        12.      Permanent price impacts: In contrast, trading can also result in permanent price

impacts due to adverse selection, according to which market participants anticipate the

possibility that a trader may have private information to indicate that the price of the security is

too low or too high. If a trader who other market participants believe may potentially be

privately informed elects to buy, then those other market participants are led to increase their

own estimates of the value of the security and to set higher bid and ask prices for the next trades.

Similarly, if such a trader elects to sell, then other participants will reduce their estimates of the

value and set lower bid and ask prices for the next trades. These revised prices become a new

baseline for all future price changes, and the expected value of any further changes are zero (see

paragraph 15 below).

        13.      The market microstructure literature terms as “informed” trades those made by

traders on the basis of private information relevant to the underlying value of the security.1

However, other market participants may be uncertain about which trades are based on such

information. When there is such uncertainty, these trades are “potentially informed.”


    1
     As Dr. Glosten testified,


                                                                                          Glosten Tr. at
95:8–16; 96:14–97:19.


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          14.     Dr. Pirrong and Dr. Glosten appear to agree that the adverse selection effects

identified by the Glosten-Milgrom analysis occur not only for informed trades, but for potentially

informed trades as well.2 Even if a particular trade is not actually informed, other market

participants, who are unable to discern whether the particular trade is informed or uninformed,

would regard that trade as potentially informed. Unless substantially all market participants

eventually discover that the trade is uninformed, market microstructure theory allows that this

uninformed trade could still have a permanent impact.

          15.     The phrase “permanent price impact” used in Dr. Pirrong’s report and similar

phrases used in the market microstructure literature refer to the “martingale property” of

transactions prices, as predicted by the Glosten-Milgrom theory. A sequence of prices that has

been adjusted to eliminate temporary effects due to inventory rebalancing has the martingale

property if the following relationship holds: conditional on all the publicly available information

at the time of any trade, including the price at which the trade takes place, the expected value of

the price for the next transaction, and for any future transaction, is equal to the current price.

          16.     Dr. Glosten’s report appears to adopt a different interpretation of the phrase

“permanent price impact.” He argues that the price impact of any manipulative trade should be

expected to be reversed entirely, and so is not “permanent.” He seems to identify the permanent

impact of a manipulative trade with the change in the expected value of future transactions prices

conditional not only on all public information, but also on the additional, non-public information

that the trade is an uninformed, manipulative trade. Including this additional information in the




    2
        Glosten report, ¶¶ 19–20.


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expected value computation, Dr. Glosten claims, leads to the conclusion that this impact is zero:

none of the price impact of a manipulative trade will be permanent.3

          17.      To support this conclusion, however, Dr. Glosten implicitly makes two

assumptions, neither of which is standard in the market microstructure literature. The first of

these is that if market participants could identify manipulative trades, they would regard them as

uninformed trades. The second is that soon after any manipulative trade is made, it can be

detected by other market participants. As I explain in Section IV.A, Dr. Glosten’s arguments for

these two premises are speculative and the premises themselves are not supported by the market

microstructure literature.

          18.      If either of the two Glosten assumptions is incorrect, then some manipulative

trades would continue to be regarded by other market participants as potentially informed. Such

trades would have “permanent” price impacts, even using that term as in Dr. Glosten’s report.

          19.      Although Dr. Glosten’s report claims to the contrary that only informed trades can

have a permanent price impact, the market microstructure literature does not support that claim:

it consistently holds that even potentially informed trades can result in a permanent price impact.

Moreover, if, as Dr. Glosten posits, some other market participants knew with certainty that

trades were manipulative and uninformed, and had the incentive to profit on the mispricing, they

would trade immediately to preserve the advantage of their private information. Consequently,

an observed change in the bid/ask price of the security that persists following the trade would

negate Dr. Glosten’s premise that other market participants knew that a trade was manipulative

and that its reversal was in their interest.




    3
        Glosten report, ¶ 19.


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            2 0.         Dr. Gl ost e n f urt h er off ers f o ur r e as o ns w h y a m a ni p ul ati v e tr a d e m ust b e

u n w o u n d i n w a ys t h at w o ul d r e v ers e t h e pri c e i m p a ct of t h e ori gi n al tr a d e, s o t h at its pri c e

i m p a ct w o ul d b e o nl y t e m p or ar y.4 H o w e v er, t h es e r e as o ns ar e a g ai n i ns uffi ci e nt t o j ustif y t h e

c o n cl usi o n of n o p er m a n e nt pri c e i m p a ct, a n d t h e y als o ar e i n c o nsist e nt wit h t h e m ar k et

mi cr ostr u ct ur e lit er at ur e, as I e x pl ai n i n S e cti o n I V. B.

            2 1.         Usi n g t h e p hr as e “ p er m a n e nt pri c e i m p a ct ” as it is us e d i n t h e m ar k et

mi cr ostr u ct ur e lit er at ur e a n d s etti n g asi d e Dr. Gl ost e n’s ass u m pti o ns a n d cl ai ms, w hi c h ar e

i n c o nsist e nt wit h t h at lit er at ur e, Dr. Pirr o n g is c orr e ct i n fi n di n g t h at p ot e nti all y i nf or m e d tr a d es

c a n h a v e a p er m a n e nt i m p a ct o n pri c es. B e c a us e m a ni p ul ati v e tr a d es ar e vi e w e d b y m ar k et

p arti ci p a nts as p ot e nti all y i nf or m e d, a n d p ot e nti all y i nf or m e d tr a d es c a n r es ult i n p er m a n e nt

pri c e i m p a ct, m a ni p ul ati v e tr a d es c a n l e a d t o p er m a n e nt pri c e i m p a ct. T h er ef or e, Dr. Pirr o n g

off ers a f air a n d a c c ur at e c h ar a ct eri z ati o n of t h e m ar k et mi cr ostr u ct ur e t h e or y r e g ar di n g t h e

p er m a n e nt pri c e i m p a ct of m a ni p ul ati v e tr a d es.

I V.        D r. Gl ost e n F ails t o Est a blis h His Cl ai m T h at t h e P ri c e I m p a ct of M a ni p ul ati v e
            T r a d es Is O nl y T e m p o r a r y

            A.           M a ni p ul ati v e T r a d es S h o ul d b e Vi e w e d as P ot e nti all y I nf o r m e d, N ot as
                         “ U ni nf o r m e d ”

            2 2.         Dr. Gl ost e n’s c o n cl usi o n —t h at m a ni p ul ati v e tr a d es h a v e n o p er m a n e nt pri c e

i m p a ct —r eli es e x pli citl y o n his pr e mis e t h at all m ar k et p arti ci p a nts k n o w “ wit h c ert ai nt y ” t h at

m a ni p ul ati v e tr a d es ar e “ u ni nf or m e d. ” 5 His pr e mis e, h o w e v er, r e pr es e nts a s u bst a nti al d e p art ur e

fr o m t h e r el at e d m ar k et mi cr ostr u ct ur e lit er at ur e. I n m u c h of t his lit er at ur e, m ar k et m a ni p ul at ors


       4
           Gl ost e n r e p ort, ¶ ¶ 2 8 – 3 5.
       5
           Dr. Gl ost e n writ es: “If m ar k et p arti ci p a nts k n e w wit h c ert ai nt y t h at a tr a ns a cti o n is u ni nf or m e d, t h er e w o ul d
b e n o p er m a n e nt eff e ct o n t h e pri c e ” ( Gl ost e n r e p ort, ¶ 1 9, e m p h asis a d d e d). Als o: “If t h e m ar k et k n o ws t h at a tr a d e
is n ot b as e d o n pri v at e i nf or m ati o n, t h e e x p e ct e d v al u e of t h e c o ntr a ct will n ot c h a n g e aft er t h e tr a d e, t h at is,
u ni nf or m e d tr a d es will n ot h a v e a p er m a n e nt i m p a ct o n pri c es ” ( Gl ost e n r e p ort, ¶ 1 6, e m p h asis a d d e d).


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ar e tr e at e d as m a ki n g s o m e i nf or m e d a n d s o m e u ni nf or m e d tr a d es, wit h ot h er tr a d ers u n a bl e t o

disti n g uis h b et w e e n t h e t w o, l e a di n g t h e m t o tr e at t h es e as p ot e nti all y i nf or m e d tr a d es. S h ort

e x c er pts fr o m si x s u c h p a p ers al o n g wit h e x pl a n at or y c o m m e nts ar e pr es e nt e d i n a f o ot n ot e. 6

T h us, t h e m ar k et mi cr ostr u ct ur e lit er at ur e is i n c o nsist e nt wit h Dr. Gl ost e n’s pr e mis e t h at

m a ni p ul ati v e tr a d es c a n b e r e a dil y i d e ntifi e d b y all m ar k et p arti ci p a nts.

             2 3.         B esi d es f aili n g t o fi n d s u p p ort i n t h e m ar k et mi cr ostr u ct ur e lit er at ur e, Dr.

Gl ost e n’s r e p ort f ails t o off er a n y l o gi c al s u p p ort f or t h e pr e mis e t h at all m ar k et p arti ci p a nts c a n

r e a dil y i d e ntif y u ni nf or m e d, m a ni p ul ati v e tr a d es. T h at pr e mis e r e q uir es — as a m att er of

ti mi n g — eit h er t h at s u c h tr a d es c a n: (i) b e i m m e di at el y ( or e v e n b ef or e h a n d ) i d e ntifi e d as

m a ni p ul ati v e a n d u ni nf or m e d b y m ar k et p arti ci p a nts; or (ii) b e e v e nt u all y i d e ntifi e d as

       6
             All e n a n d G al e ( 1 9 9 2) a n al y z e a m o d el i n w hi c h m ar k et p arti ci p a nts c a n n ot disti n g uis h a n u ni nf or m e d
m a ni p ul at or fr o m a n i nf or m e d tr a d er: “[i] n v est ors d o n ot k n o w w h et h er t h e e ntr a nt is a n i nf or m e d tr a d er or a
m a ni p ul at or. ” T o t his e xt e nt, m ar k et p arti ci p a nts vi e w a n y e ntr a nt as p ot e nti all y i nf or m e d. S e e F. All e n a n d D.
G al e, “ St o c k- Pri c e M a ni p ul ati o n, ” R e vi e w of Fi n a n ci al St u di es 5, n o. 3 ( 1 9 9 2): 5 0 9 – 5 1 1.
         A g g ar w al a n d W u ( 2 0 0 6) e xt e n d t h e a n al ysis of All e n a n d G al e ( 1 9 9 2) vi a a si mil ar m o d el i n w hi c h a
m a ni p ul at or “ p o ols ” wit h a n i nf or m e d tr a d er i n e q uili bri u m —t h at is, ot h er m ar k et p arti ci p a nts c a n n ot disti n g uis h t h e
m a ni p ul at or fr o m a n i nf or m e d p art y. S e e R. K. A g g ar w al a n d G. W u, “ St o c k M ar k et M a ni p ul ati o ns, ” J o ur n al of
B usi n ess 7 9, n o. 4 ( 2 0 0 6): 1 9 3 7 – 1 9 3 8.
         K u m ar a n d S e p pi ( 1 9 9 2), cit e d b y b ot h Dr. Gl ost e n a n d Dr. Pirr o n g, pr o p os es t o r e pr es e nt t h e eff e ct of
p ot e nti all y i nf or m e d m a ni p ul ati o ns b y usi n g a “si g n al-t o- n ois e r ati o, ” w hi c h m e as ur es “t h e a bilit y of t h e [ m ar k et] t o
pr e di ct t h e m a ni p ul at or’s f ut ur es p ositi o n a n d h e n c e t o pr e di ct a n d t h e n filt er o ut t h e m a ni p ul at or’s u ni nf or m ati v e
tr a d e...fr o m t h e s p ot or d er fl o w. ” S e e P. K u m ar a n d D. S e p pi, “ F ut ur es M a ni p ul ati o n wit h ‘ C as h S ettl e m e nt’, ”
J o ur n al of Fi n a n c e 4 7, n o. 4 ( 1 9 9 2): 1 4 8 8 – 1 4 9 0.
         J arr o w ( 1 9 9 4) c o nsi d ers a m a ni p ul at or w h os e tr a d es ar e c o nsi d er e d t o b e p ot e nti all y i nf or m e d b y ot h er m ar k et
p arti ci p a nts. I n his a n al ysis, ot h er m ar k et p arti ci p a nts c a n n ot dis c er n t h e m a ni p ul at or’s tr a d es fr o m ot h er i nf or m e d
tr a d es: t h e pri c e “is o nl y a f u n cti o n of t h e [ m a ni p ul at or’s] h ol di n gs i n t h e st o c k a n d t h e d eri v ati v e s e c urit y ”
( e m p h asis a d d e d). T his p hr as e — “ o nl y a f u n cti o n ” — m e a ns t h at t h e pri c e d o es n ot d e p e n d o n w h et h er t h e tr a d e is
m a ni p ul ati v e. It is a f or m ul ai c w a y t o ass ert t h at o nl y t h e m a ni p ul at or its elf c a n disti n g uis h its m a ni p ul ati v e tr a d es
fr o m its i nf or m e d tr a d es. S e e R. A. J arr o w, “ D eri v ati v e S e c urit y M ar k ets, M ar k et M a ni p ul ati o n, a n d O pti o n Pri ci n g
T h e or y, ” T h e J o ur n al of Fi n a n ci al a n d Q u a ntit ati v e A n al ysis 2 9, n o. 2 ( 1 9 9 4): 2 4 4 – 2 4 5.
         Br u n n er m ei er a n d P e d ers e n ( 2 0 0 5) fi n ds t h at “ e v e n t h o u g h tr a d ers o bs er v e pri c es, t h e y c a n n ot i nf er ot h er
tr a d ers’ a cti o ns. ” M or e o v er, t h e y st at e t h at “[ a]ss u mi n g t h at t h e str at e gi c tr a d ers c a n p erf e ctl y o bs er v e t h e a cti o ns of
ot h er str at e gi c tr a d ers s e e ms u nr e alisti c. ” I n t h e c o nt e xt of t h eir p a p er, t his m e a ns t h at m a ni p ul ati v e tr a d es ar e
i n disti n g uis h a bl e fr o m n or m al tr a d es. S e e M. K. Br u n n er m ei er a n d L. H. P e d ers e n, “ Pr e d at or y Tr a di n g, ” T h e
J o ur n al of Fi n a n c e 6 0, n o. 4 ( 2 0 0 5): 1 8 3 3.
         Fi n all y, C h a kr a b ort y a n d Yil m a z ( 2 0 0 4) s p e cifi c all y m o d el “ m a ni p ul ati v e str at e gi c tr a di n g b y i nf or m e d
i nsi d ers. ” E v er y tr a d e i n t h eir a n al ysis is m o d ell e d as p ot e nti all y i nf or m e d, m e a ni n g t h at m ar k et p arti ci p a nts d o n ot
k n o w w hi c h tr a d es ar e m a ni p ul ati v e. S e e A. C h a kr a b ort y a n d B. Yil m a z, “I nf or m e d M a ni p ul ati o n, ” J o ur n al of
E c o n o mi c T h e or y 1 1 4 ( 2 0 0 4): 1 3 3.


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manipulative and uninformed by market participants.7Dr. Glosten offers no supporting evidence

for these possibilities, which defy the logic of financial markets for the reasons described below.

         24.     First, it is highly improbable that manipulative trades can immediately be

identified as manipulative and uninformed by market participants. For any agent in the market,

the incentive to gather private information—and thus to become an informed trader—is directly

related to the volume of its trades and the size of its positions. The Defendants here are among

the largest market participants and have powerful incentives to be well-informed. Other

participants would likely expect this, and therefore have good reason to treat their trades as

potentially informed. This tendency of large traders to be well informed is also observed by

others in the market microstructure literature.8

         25.     Second, it is also improbable that the public will eventually come to know which

trades were manipulative and uninformed. Indeed, Defendants dispute even now which, if any,

of the trades were manipulative. Their own arguments therefore refute this hypothesis. The

market microstructure literature also contradicts this hypothesis.9

         26.     In sum, in the market microstructure literature, manipulative trades are viewed by

other market participants as potentially informed, not “uninformed.” Dr. Glosten’s arguments to

the contrary are inconsistent with the market microstructure literature.




     7
       See note 6 above.
     8
       For example, Aggarwal and Wu (2006) conclude that “one way to credibly pose as an informed party is to be
an insider. Others such as brokers, underwriters, market makers, or large shareholders can also credibly pose as
informed investors.” See R. K. Aggarwal and G. Wu, “Stock Market Manipulations,” Journal of Business 79, no. 4
(2006): 1937–1938.
     For additional references, see note 6.
     9
       For example, Putnins (2012) identifies as an important problem “incomplete detection (and prosecution) of
manipulation.” This recognizes that the public is unlikely to know exactly which trades were manipulative, for
otherwise the problem of incomplete detection would be easily resolved. See T. J. Putnins, “Market Manipulation:
A Survey,” Journal of Economic Surveys 26, no. 5 (2012): 961–962.


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            B.           P ot e nti all y I nf o r m e d M a ni p ul ati v e T r a d es R es ult i n P e r m a n e nt P ri c e
                         I m p a cts

            2 7.         Dr. Gl ost e n als o ar g u es i n his r e p ort t h at, “i n e v er y p a p er cit e d b y Dr. Pirr o n g, t h e

m e as ur e d p er m a n e nt i m p a ct is attri b ut e d t o i nf or m e d, n ot u ni nf or m e d ( e. g., m a ni p ul ati v e),

tr a d es. ”10 T his, h o w e v er, is a misst at e m e nt of t h e lit er at ur e. I nst e a d, t h e a c c ur at e c o n cl usi o n t o

dr a w fr o m t h e lit er at ur e is t his: p er m a n e nt pri c e i m p a ct c a n r es ult fr o m p ot e nti all y i nf or m e d

tr a d es as w ell as fr o m i nf or m e d tr a d es.

            2 8.         A c c or di n g t o t h e m ar k et mi cr ostr u ct ur e lit er at ur e, p ot e nti all y i nf or m e d tr a d es l e a d

t o p er m a n e nt pri c e c h a n g es b e c a us e t h e c o u nt er p arti es a nti ci p at e p ossi bl e a d v ers e s el e cti o n.

Gl ost e n a n d Mil gr o m ( 1 9 8 5) s h o w t h at t h e p ossi bilit y of a d v ers e s el e cti o n l e a ds t o p er m a n e nt

pri c e c h a n g es i n t h e s e ns e d es cri b e d a b o v e, n a m el y, t h at “ pri c es at w hi c h tr a ns a cti o ns a ct u all y

o c c ur f or m a m arti n g al e. ” 11 S u bs e q u e nt a ut h ors h a v e e x p a n d e d o n t his i d e a t h e or eti c all y a n d

t est e d it e m piri c all y, w hil e still c o n cl u di n g t h at tr a d es vi e w e d b y ot h er m ar k et p arti ci p a nts as

p ot e nti all y i nf or m e d will i m p a ct pri c es i n a p er m a n e nt w a y.

                                     ( 1)         F or e x a m pl e, t a ki n g a t h e or eti c al p ers p e cti v e, E asl e y a n d O’ H ar a

            ( 1 9 8 7) e x p a n d o n t h e Gl ost e n- Mil gr o m t h e or y t o all o w tr a d es t o v ar y i n si z e. I n t h eir

            m o d el, “i nf or m e d tr a d ers pr ef er t o tr a d e l ar g er a m o u nts at a n y gi v e n pri c e. Si n c e

            u ni nf or m e d tr a d ers d o n ot s h ar e t his q u a ntit y bi as, t h e l ar g er t h e tr a d e si z e, t h e m or e

            li k el y it is t h at t h e m ar k et m a k er is tr a di n g wit h a n i nf or m e d tr a d er. ” T his l a n g u a g e

            hi g hli g hts t h at pri c es ar e i m p a ct e d b y l ar g e tr a d es r e g ar dl ess of w h et h er t h e tr a d es ar e

            a ct u all y i nf or m e d o n es. T h e y als o s h o w t h at pri c es “f oll o w a m arti n g al e r el ati v e t o t h e s et


       10
               Gl ost e n r e p ort, ¶ 2 2.
       11
              L. R. Gl ost e n a n d P. R. Mil gr o m, “ Bi d, As k, a n d Tr a ns a cti o n Pri c es i n a S p e ci alist M ar k et wit h
H et er o g e n e o usl y I nf or m e d Tr a d ers, ” J o ur n al of Fi n a n ci al E c o n o mi cs 1 4, n o. 1 ( 1 9 8 5): 7 2. S e e als o ¶ ¶ 1 2 – 1 5,
a b o v e.


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             of p ast pri c es. ” T h e y i nt er pr et t his as m e a ni n g t h at “l ar g e bl o c ks h a v e p ersist e nt pri c e

             eff e cts ” ( e m p h asis i n ori gi n al). S e e D. E asl e y a n d M. O’ H ar a, “ Pri c e, Tr a d e Si z e, a n d

             I nf or m ati o n i n S e c uriti es M ar k ets, ” J o ur n al of Fi n a n ci al E c o n o mi cs 1 9, n o. 1 ( 1 9 8 7): 7 0,

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                                       ( 2)         I n a n e m piri c al st u d y, H u a n g a n d St oll ( 1 9 9 7) b uil d a n d a n al y z e a

             str u ct ur al m o d el i n w hi c h a d v ers e s el e cti o n g e n er at e d b y p ot e nti al i nf or m ati o n l e a ds t o

            p er m a n e nt pri c e i m p a ct. T h e y p erf or m a ti m e-s eri es a n al ysis t o disti n g uis h e m piri c all y

             t hr e e c o m p o n e nts of t h e bi d- as k s pr e a d: “ or d er pr o c essi n g, a d v ers e i nf or m ati o n, a n d

             i n v e nt or y h ol di n g c ost. ” T h e y st at e t h at “[ q] u ot e a dj ust m e nts f or i n v e nt or y r e as o ns t e n d

             t o b e r e v ers e d o v er ti m e, w hil e q u ot e a dj ust m e nts f or a d v ers e i nf or m ati o n ar e n ot. ” S e e

             R. D. H u a n g a n d H. R. St oll, “ T h e C o m p o n e nts of t h e Bi d- As k S pr e a d: A G e n er al

             A p pr o a c h, ” T h e R e vi e w of Fi n a n ci al St u di es 1 0, n o. 4 ( 1 9 9 7): 9 9 7. 13

             2 9.         T h e m ar k et mi cr ostr u ct ur e lit er at ur e disti n g uis h es cl e arl y b et w e e n pri c e i m p a cts

d u e t o a d v ers e s el e cti o n a n d pri c e i m p a cts d u e t o i n v e nt or y eff e cts, r at h er t h a n b et w e e n

“i nf or m e d ” a n d “ u ni nf or m e d ” tr a d es. 14 Y et, i n his r e p ort, Dr. Gl ost e n a p p e ars t o s u g g est t h at


       12
              S e e als o:
         O’ H ar a ( 1 9 9 8) n ot es t h at, i n m o d els wit h a d v ers e s el e cti o n g e n er at e d b y p ot e nti al i nf or m ati o n, “[ d] e p e n di n g
u p o n t h e i nf or m ati o n t h e m ar k et m a k er s e es, t h er e c a n b e v er y diff er e nt pri c e a dj ust m e nt p at hs, wit h s o m e pri c e
p at hs cl os er t o t h e tr u e v al u e t h a n ot h ers. E a c h p at h, h o w e v er, h as t h e pr o p ert y t h at pri c es ar e a [ m] arti n g al e. ” S e e
M. O’ H ar a, M ar k et Mi cr ostr u ct ur e T h e or y ( C a m bri d g e, M A: Bl a c k w ell P u blis h ers, 2 0 0 5), 6 5.
         13
             S e e als o:
         E asl e y, Ki ef er, O’ H ar a, a n d P a p er m a n ( 1 9 9 6) “ dir e ctl y m e as ur e t h e eff e ct of i nf or m e d tr a di n g b y esti m ati n g
t h e m ar k et m a k er’s b eli efs ” ( e m p h asis i n ori gi n al). T h e y d o s o b y usi n g “t h e i nf or m ati o n i n tr a d e d at a t o esti m at e
t h e pr o b a bilit y of i nf or m e d tr a d e ” ( e m p h asis a d d e d). S e e D. E asl e y, N. M. Ki ef er, M. O’ H ar a a n d J. B. P a p er m a n,
“ Li q ui dit y, I nf or m ati o n, a n d I nfr e q u e ntl y Tr a d e d St o c ks, ” J o ur n al of Fi n a n c e 5 1, n o. 4 ( 1 9 9 6), 1 4 0 6 – 1 4 0 7.
         Vi v es ( 2 0 0 8) st at es t h at “[t] h er e is e vi d e n c e t h at m ar k et m a k ers d o f a c e a n a d v ers e s el e cti o n pr o bl e m a n d t h at
s pr e a ds r efl e ct as y m m etri c i nf or m ati o n, ” a n d t h at “t h er e is e vi d e n c e t h at tr a d es h a v e a p er m a n e nt i m p a ct o n pri c es,
p oi nti n g t o w ar d t h e eff e cts of pri v at e ( or p u bli c) i nf or m ati o n. ” S e e X. Vi v es, I nf or m ati o n a n d L e ar ni n g i n M ar k ets:
T h e I m p a ct of M ar k et Mi cr ostr u ct ur e ( Pri n c et o n, NJ: Pri n c et o n U ni v ersit y Pr ess 2 0 0 8), 1 2 0.
         14
               R e c all t h at a d v ers e s el e cti o n eff e cts dri v e p er m a n e nt pri c e c h a n g es, w h er e as i n v e nt or y eff e cts dri v e
t e m p or ar y pri c e c h a n g es. S e e ¶ ¶ 1 1 – 1 2, a b o v e.


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adverse selection impacts are generated only by informed trades.15 His attribution of a similar

view to the market microstructure literature is unfounded. In each paper cited in note 12 of the

Glosten report, ¶ 22, adverse selection is generated by potentially informed trades, not only

“informed” trades, as Dr. Glosten appears to suggest.

                          (1)      Quoting from Biais, Glosten, and Spatt (2005), Dr. Glosten

          highlights that: “[t]his literature has shown that trades have both a transitory and a

          permanent impact on prices. While the former can be traced back to order-handling and

          inventory costs, the latter reflects information.” However, “information” as used here

          refers to the potential information that generates adverse selection effects. Biais,

          Glosten, and Spatt (2005) also clarify that in their paper that adverse selection leads to

          permanent effects: “Both inventory and adverse-selection theories predict that trades

          impact prices, but the former predicts that this impact should be transient, while the latter

          predicts that this impact should be permanent.”16

                          (2)      Dr. Glosten also cites Hasbrouck (1991) in support of his position,

          but Hasbrouck explains to the contrary: “trades convey information and therefore cause a

          persistent impact on the security price.” Furthermore, “[t]he magnitude of the price

          effect for a given trade size is generally held to be a positive function of the proportion of

          potentially informed traders in the population, the probability that such a trader is in fact

          informed (i.e., the probability that a private information signal has in fact been observed),

          and the precision of the private information” (emphasis added).17 The references to the


     15
        Glosten report, ¶ 22, note 12.
     16
        See B. Biais, L. Glosten, and C. Spatt, “Market Microstructure: A Survey of Microfoundations, Empirical
Results, and Policy Implications,” Journal of Financial Markets 8 (2005): 220, 232.
     17
        J. Hasbrouck, “Measuring the Information Content of Stock Trades,” Journal of Finance 46, no. 1 (1991):
179.


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      “proportion” and “probability” of informed trade are included because participants cannot

      distinguish informed from uninformed trades, and must respond in the same ways to

      both.

                        (3)     Dr. Glosten quotes from Stoll (2000): “[i]nformational trading

      results in permanent price changes” and “[p]rice changes associated with adverse

      information are permanent adjustments in the equilibrium price.” The reference to

      adverse selection makes clear that Stoll (2000) uses “information” in the sense of

      potential information just as in the Glosten-Milgrom analysis, in which “[a] supplier of

      immediacy faces the danger that a bid or ask will be accepted by someone with superior-

      or adverse-information” (emphasis added). Moreover, this leads to permanent price

      changes: “If the source of the spread is totally informational, the bid-ask bounce, as

      Glosten and Milgrom (1985) first showed, will not be observed, for in that case the

      transaction price is a martingale.”18

                        (4)     Dr. Glosten claims that Fleming, Mizrach, and Nguyen (2017)

      “conclude that the permanent price impact found in their empirical study is due to

      information”.19 He quotes from the study: “More importantly, we show that limit order

      activities affect prices, and in fact contribute more to the variance of efficient price

      updates than trades [...] The evidence that limit orders also contain value-relevant

      information suggests that, contrary to the conventional assumption that traders with better

      information are liquidity demanders.” However, this quote does not support Dr.

      Glosten’s claim.



18
     See H. R. Stoll, “Friction,” Journal of Finance 55, no. 4 (2000): 1482–1483, 1485, 1492.
19
     Glosten report, ¶ 22, note 12.


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                                                  ( a)      T h e a ut h ors us e t h e t er m “i nf or m ati o n ” t o m e a n p ot e nti al

            i nf or m ati o n. T h e y st at e e x pli citl y t h at t h eir m et h o d ol o g y is “r o ot e d i n t h e or eti c al

            mi cr ostr u ct ur e m o d els of i nf or m ati o n as y m m etr y. U p o n o bs er vi n g a tr a d e, t h e m ar k et

            m a k er i nf ers t h e pr o b a bilit y of tr a di n g wit h a n i nf or m e d tr a d er , a n d u p d at e pri c es

            a c c or di n gl y ” ( e m p h asis a d d e d).

                                                 ( b)       Fl e mi n g, Mi zr a c h, a n d N g u y e n ( 2 0 1 7) f urt h er n ot e t h at t his

            l e a ds t o p er m a n e n c e of pri c e i m p a ct, i n t h e s e ns e of t h e m arti n g al e c o n diti o n: “ T h e pri c e

            r e visi o n pr o c ess t h us r efl e cts t h e i nf or m ati o n s et of t h e m ar k et m a k er at e a c h pri c e

            u p d at e, w hi c h i n cl u d es t h e c o nt e m p or a n e o us tr a d e, as w ell as t h e hist or y of tr a d es a n d

            pri c es. ” 20

                                    ( 5)        Dr. Gl ost e n q u ot es fr o m Kr a us a n d St oll ( 1 9 7 2): “ T h e e vi d e n c e

            t e n ds t o s u p p ort t h e li q ui dit y c ost v ersi o n of t h e distri b uti o n h y p ot h esis ... [ a n d t his]

            c o n cl usi o n is b as e d o n a n u m b er of pi e c es of e vi d e n c e t h e m ost i m p ort a nt of w hi c h is t h e

            r a pi d pri c e r e c o v er y of mi n us ti c k bl o c ks [i. e., s al es] o n t h e d a y of t h e bl o c k. ” H o w e v er,

            t his d o es n ot attri b ut e p er m a n e nt eff e cts o nl y t o i nf or m e d tr a d es, as Gl ost e n cl ai ms i n ¶

            2 2. T h e l o gi c of Kr a us a n d St oll ( 1 9 7 2) is t h at b e c a us e t h e e m piri c all y m e as ur e d pri c e

            i m p a ct is t e m p or ar y, t h e tr a d es c o nsi d er e d c a n n ot b e b as e d o n p ot e nti al i nf or m ati o n. As

            t h e a ut h ors writ e b y w a y of c o n cl usi o n: “ T h e p ur p os e of t h e pr e c e di n g a n al ys es w as t o

            i n v esti g at e w h et h er t h e pri c e eff e cts a c c o m p a n yi n g bl o c k tr a d es c a n b e as cri b e d t o a

            c h a n g e i n t h e u n d erl yi n g v al u e of t h e st o c k (i nf or m ati o n eff e ct) or t o a t e m p or ar y

            d e vi ati o n of pri c es ( distri b uti o n eff e ct). ” Kr a us a n d St oll ( 1 9 7 2) pr e- d at es t h e t h e



       20
             S e e M. J. Fl e mi n g, B. Mi zr a c h, a n d G. N g u y e n, “ T h e Mi cr ostr u ct ur e of a U. S. Tr e as ur y E C N: T h e
Br o k er T e c Pl atf or m, ” J o ur n al of Fi n a n ci al M ar k ets , f ort h c o mi n g ( 2 0 1 7): 3, 1 5 – 1 6.


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          Glosten-Milgrom analysis, and so the authors do not explicitly distinguish between

          information and potential information.21

                         (6)      Dr. Glosten quotes from Huang and Stoll (1996) that their result of

          permanent price changes on the NYSE are “consistent with the presence of adverse

          information.” However, as noted above, adverse selection arises from potential

          information, so this quotation is inconsistent with Dr. Glosten’s position.22

                         (7)      From Madhavan and Cheng (1997), Dr. Glosten quotes that the

          authors find that “asymmetric information is a major component of the price impact.”

          Asymmetrically informed traders, however, are the same as potentially informed traders:

          they alone know whether they have relevant private information about the value of the

          security and what its significance may be. To the extent that market participants cannot

          distinguish informed trades from uninformed ones, trades are viewed by market

          participants as potentially informed and result in adverse selection, which drives

          permanent price changes.23

                 (8)     Dr. Glosten’s contention about Dr. Pirrong’s use of Glosten and Harris

(1988) is simply that the paper “[does] not make any inference between the findings [...] and

manipulative trading”.24 Glosten and Harris (1988) does, however, distinguish between the

“transitory component” and the “adverse-selection component” of the bid-ask spread. They

explain that, as “[i]n the Glosten and Milgrom (1985) model, the adverse-selection spread


     21
        See A. Kraus and H. R. Stoll, “Price Impacts of Block Trading on the New York Stock Exchange,” Journal
of Finance 27, no. 3 (1972): 587.
     22
        See R. D. Huang and H. R. Stoll, “Dealer versus Auction Markets: A Paired Comparison of Execution Costs
on NASDAQ and the NYSE,” Journal of Financial Economics 41, no. 3 (1996): 334.
     23
        See A. Madhavan and M. Cheng, “In Search of Liquidity: Block Trades in the Upstairs and Downstairs
Markets,” Review of Financial Studies 10, no. 1 (1997): 190.
     24
        Glosten report, ¶ 22, note 12.


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c o m p o n e nt is e q u al t o t h e r e visi o n i n m ar k et- m a k er e x p e ct ati o ns of st o c k r es ulti n g fr o m t h e

s u b missi o n of a n or d er. W h e n s o m e o n e s u b mits a n or d er t o b u y ( or s ell) st o c k, t h e u ni nf or m e d

m ar k et- m a k er, k n o wi n g t h at t h e or d er mi g ht b e i nf or m ati o n- m oti v at e d, r e vis es his e x p e ct ati o n of

t h e f ut ur e st o c k v al u e u p w ar d ( or d o w n w ar d) ” ( e m p h asis a d d e d). T his s u p p orts t h e ar g u m e nt

t h at p ot e nti all y i nf or m e d tr a d es r es ult i n a d v ers e s el e cti o n, w hi c h l e a ds t o p er m a n e nt pri c e

i m p a ct. T h us, t o t h e e xt e nt t h at m a ni p ul ati v e tr a d es ar e p ot e nti all y i nf or m e d tr a d es, t h e p a p er’s

fi n di n gs d o a p pl y. 25

                         ( 9)        Fr o m K u m ar a n d S e p pi ( 1 9 9 2), Dr. Gl ost e n n ot es t h at o n e c o n cl usi o n t h e

p a p er dr a ws is t h at t h er e is “ pri c e pr ess ur e (i. e., s u bs e q u e ntl y r e v ers e d pri c e c h a n g es) ” f oll o wi n g

m a ni p ul ati o n. T a k e n i n c o nt e xt, t his q u ot e a d dr ess es t h e pri c e pr ess ur e i n t h e f ut ur es m ar k et, n ot

i n t h e m ar k et f or t h e u n d erl yi n g st o c k. T h e f ut ur es or d er fl o w i n t h at p orti o n of t h eir a n al ysis is

k n o w n b y all m ar k et p arti ci p a nts t o b e “ c o m pl et el y u ni nf or m ati v e a b o ut f u n d a m e nt als, ” or t h e

v al u e of t h e u n d erl yi n g s e c urit y, a n d s o l e a ds t o t e m p or ar y pr ess ur e o n t h e f ut ur es pri c e. B y

c o ntr ast, i n t h e s a m e m o d el, b ot h u ni nf or m e d a n d i nf or m e d tr a d ers tr a d e i n t h e s p ot m ar k et f or

t h e u n d erl yi n g st o c k. Tr a d es i n t h e s p ot m ar k et ar e tr e at e d as p ot e nti all y i nf or m e d b y m ar k et

p arti ci p a nts, a n d dri v e a d v ers e s el e cti o n. 26

            3 0.        D es pit e t h e lit er at ur e, Dr. Gl ost e n als o t a k es a diff er e nt a p pr o a c h t o t h es e s a m e

iss u es, off eri n g f o ur r e as o ns t h at if a tr a d e is m a ni p ul ati v e, it mi g ht b e u n w o u n d, t h us r e v ersi n g

t h e pri c e i m p a ct a n d r e n d eri n g t h at i m p a ct t e m p or ar y, r at h er t h a n p er m a n e nt.27 T h e s e r e a s o n s all

r el y o n cl ai ms t h at ar e n eit h er i m pli e d n or s u p p ort e d b y t h e m ar k et mi cr ostr u ct ur e lit er at ur e.


       25
             S e e L. R. Gl ost e n a n d L. E. H arris, “ Esti m ati n g t h e C o m p o n e nts of t h e Bi d/ As k S pr e a d, ” J o ur n al of
Fi n a n ci al E c o n o mi cs 2 1 ( 1 9 8 8): 1 2 4.
        26
             S e e P. K u m ar a n d D. J. S e p pi, “ F ut ur es M a ni p ul ati o n wit h ‘ C as h S ettl e m e nt’, ” J o ur n al of Fi n a n c e 4 7, n o. 4
( 1 9 9 2): 1 4 8 6, 1 4 9 5.
        27
              Gl ost e n r e p ort, ¶ ¶ 2 8 – 3 5.


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          31.      First, Dr. Glosten asserts that, after a manipulative trade, the manipulative trader

would be left with inventory to rebalance by “unwinding” the manipulation. There is, however,

no symmetry in the manipulative trade and its unwinding. A manipulative trader who wants, for

example, to raise a price will buy in a way that maximizes the price impact. However, when

unwinding the trade, that same trader will seek to minimize the price impact to avoid losses.

Therefore, the upward effect can be expected to exceed the downward effect from unwinding—

and that difference may represent a permanent effect.

          32.      Second, professional traders and others will tend to act on the mistaken pricing.

Dr. Glosten posits that these market participants might try to detect manipulative trades. But Dr.

Glosten fails to account for the corresponding incentive of manipulative traders to conceal their

intent, in order to benefit from their manipulation and unwind their positions to avoid or

minimize loss.

          33.      Third, Dr. Glosten notes that the market participants themselves will have an

incentive to take advantage of the mispricing. Like the first reason above, however, Dr. Glosten

again ignores trader incentives to minimize price impact while unwinding their position.

          34.      Fourth, according to Dr. Glosten, other co-conspirators may trade similarly based

on their knowledge that the trade was manipulative and that the price level is artificial. But like

the second reason, Dr. Glosten’s fourth reason relies on other market participants’ ability to

recognize manipulative trades, and their confidence that each trade is uninformed, rather than

potentially informed. However, as noted above, both of these assumptions are contrary to the

weight of the market microstructure literature.28




    28
         In particular, see Section IV.A, above.


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              3 5.    T h us, Dr. Gl ost e n’s f o ur r e as o ns t h at m a ni p ul ati v e tr a d es w o ul d b e u n w o u n d i n

w a ys t h at c o m pl et el y r e v ers e t h eir pri c e i m p a cts is u n p ers u asi v e as a m att er of l o gi c, as w ell as

u ns u p p ort e d b y t h e m ar k et mi cr ostr u ct ur e lit er at ur e. T h e m ar k et mi cr ostr u ct ur e lit er at ur e

d e m o nstr at es cl e arl y h o w p ot e nti all y i nf or m e d tr a d es c a n r es ult i n p er m a n e nt pri c e i m p a ct.

T h er ef or e, as Dr. Pirr o n g o pi n es, m a ni p ul ati v e tr a d es ar e li k el y t o h a v e a p er m a n e nt pri c e

i m p a ct.

V.         C o n cl usi o n

              3 6.    I n s u m m ar y, Dr. Pirr o n g a c c ur at el y i nt er pr ets t h e m ar k et mi cr ostr u ct ur e lit er at ur e

r e g ar di n g t h e p er m a n e nt pri c e i m p a ct of p ot e nti all y i nf or m e d tr a d es. T o t h e e xt e nt t h at

m a ni p ul ati v e tr a d es ar e vi e w e d b y ot h er m ar k et p arti ci p a nts as p ot e nti all y i nf or m e d, t h e y h a v e a

p er m a n e nt pri c e i m p a ct. Dr. Gl ost e n’s cl ai ms t o t h e c o ntr ar y ar e n ot c o n vi n ci n g a n d ar e n ot

s u p p ort e d b y t h e m ar k et mi cr ostr u ct ur e lit er at ur e.



J a n u ar y 2 2, 2 0 1 8



                                                                                        Dr. P a ul Mil gr o m




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                                                              A p p e n di x 1
                                                   P a ul R o b e rt Mil g r o m

                       S hi rl e y a n d L e o n a r d El y, J r. P r of ess o r of H u m a niti es a n d S ci e n c es
                                                     D e p a rt m e nt of E c o n o mi cs
                                                          St a nf o r d U ni v e rsit y


                                          5 7 9 S err a M all, L a n d a u E c o n o mi cs B uil di n g
                                                           St a nf or d, C A 9 4 3 0 5
                                                            + 1 ( 6 5 0) 7 2 3- 3 3 9 7
                                                         mil gr o m @st a nf or d. e d u


E d u c ati o n

P h. D. i n B usi n ess, St a nf or d U ni v ersit y, J a n u ar y 1 9 7 9

M. S. i n St atisti cs, St a nf or d U ni v ersit y, A pril 1 9 7 8

A. B. i n M at h e m ati cs wit h hi g h h o n ors, U ni v ersit y of Mi c hi g a n, M a y 1 9 7 0


E m pl o y m e nt

2 0 0 7 - pr es e nt         S e ni or F ell o w, SI E P R, St a nf or d U ni v ersit y

1 9 9 3 - pr es e nt         S hirl e y a n d L e o n ar d El y, Jr. Pr of ess or of H u m a niti es a n d S ci e n c es, St a nf or d
                             U ni v ersit y

1 9 8 7 - pr es e nt         Pr of ess or of E c o n o mi cs, St a nf or d U ni v ersit y
                             Pr of ess or ( b y c o urt es y), Gr a d u at e S c h o ol of B usi n ess
                             Pr of e s s or ( b y c o urt e s y), D e p art m e nt of             M a n a g e m e nt S ci e n c e a n d
                             E n gi n e eri n g

1 9 8 9- 9 1                 Dir e ct or, St a nf or d I nstit ut e f or T h e or eti c al E c o n o mi cs

1 9 8 5- 8 7                 Willi a m s Br ot h er s Pr of e s s or of M a n a g e m e nt St u di e s a n d Pr of e s s or of
                             E c o n o mi cs, Y al e U ni v ersit y

1 9 8 3- 8 5                 Pr of ess or of E c o n o mi cs a n d M a n a g e m e nt, Y al e U ni v ersit y

1 9 8 2- 8 3                 Visiti n g Pr of ess or, Y al e U ni v ersit y
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                       Pr of e s s or, D e p art m e nt of M a n a g eri al E c o n o mi c s a n d D e ci si o n S ci e n c e s,
                       K ell o g g Gr a d u at e S c h o ol of M a n a g e m e nt, N ort h w est er n U ni v ersit y

1981–82                A s s o ci at e Pr of e s s or, D e p art m e nt of M a n a g eri al E c o n o mi c s a n d D e ci si o n
                       S ci e n c e s, K ell o g g Gr a d u at e S c h o ol of            M a n a g e m e nt, N ort h w e st er n
                       U ni v ersit y

1979–81                A s si st a nt Pr of e s s or, D e p art m e nt of M a n a g eri al E c o n o mi c s a n d D e ci si o n
                       S ci e n c e s, K ell o g g Gr a d u at e S c h o ol of            M a n a g e m e nt, N ort h w e st er n
                       U ni v ersit y


H o n o rs, A w a r ds, P ri z es, F ell o ws hi ps, a n d G r a nts

2018                   J o h n J. C art y A w ar d f or t h e A d v a n c e m e nt of S ci e n c e, U. S. N ati o n al
                       A c a d e m y of S ci e n c es

2017                   C M E Gr o u p- M S RI pri z e i n I n n o v ati v e Q u a ntit ati v e A p pli c ati o n s, C hi c a g o
                       M er c a ntil e E x c h a n g e a n d M at h e m ati c al S ci e n c es R es e ar c h I nstit ut e
                       M c K e n zi e l e ct ur e, U ni v ersit y of R o c h est er
                       St a nf or d H u m a niti es a n d S ci e n c es D e a n’s A w ar d f or E x c ell e n c e i n Gr a d u at e
                       E d u c ati o n
                       El e ct e d F ell o w of t h e G a m e T h e or y S o ci et y
                       El e ct e d F ell o w of t h e Fi n a n c e T h e or y Gr o u p

2016                   N a n c y S c h w art z M e m ori al L e ct ur e, N ort h w est er n U ni v ersit y

2015                   N ati o n al S ci e n c e F o u n d ati o n A w ar d “ A u cti o n M ar k et D esi g n ”
                       Si m o n’s I nstit ut e P u bli c L e ct ur e, U ni v ersit y of C alif or ni a, B er k el e y
                       WI N E ( W e b a n d I nt er n et E c o n o mi cs) K e y n ot e L e ct ur e

2014                   G ol d e n G o os e A w ar d
                       K e yfit z L e ct ur e, Fi el ds I nstit ut e, T or o nt o
                        Arr o w L e ct ur e, C ol u m bi a U ni v ersit y

2013                   N o m ur a L e ct ur er, I nstit ut e of M at h e m ati cs, O xf or d U ni v ersit y
                       B B V A F o u n d ati o n Fr o nti er s of K n o wl e d g e A w ar d i n E c o n o mi c s, Fi n a n c e
                       a n d M a n a g e m e nt

2012                   El e ct e d Vi c e Pr e si d e nt of t h e A m eri c a n E c o n o mi c A s s o ci ati o n (t er m t o
                       b e gi n i n 2 0 1 3)
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                    I n a u g ur al l e ct ur e o n “I n c e nti v e A u cti o n s f or R a di o S p e ctr u m, ” C. V. St arr
                    C e nt er Disti n g uis h e d S p e a k er S eri es, N e w Y or k U ni v ersit y
                    O s k ar M or g e n st er n l e ct ur e o n “ D e si g ni n g t h e U S ‘I n c e nti v e A u cti o n s’, ”
                    F o urt h W orl d C o n gr ess of t h e G a m e T h e or y S o ci et y
                    B e c k er Fri e d m a n Visit or, U ni v ersit y of C hi c a g o
                    I nt erti c St a c k el b er g L e ct ur e o n “ A u cti o ns f or O nli n e Dis pl a y A d v ertisi n g ”

2011                Eit a n B er gl as L e ct ur e o n “ T h e A p pli e d S ci e n c e of M ar k et D esi g n, ” T el A vi v
                    U ni v ersit y

2010                N S F- S BI R P h as e I B A w ar d f or “I n c or p or ati n g Bi d d er B u d g et C o nstr ai nts i n
                    M ulti-it e m A u cti o ns ”

2009                N S F- S BI R P h as e I A w ar d f or “I n c or p or ati n g Bi d d er B u d g et C o nstr ai nts i n
                    M ulti-It e m A u cti o ns ”
                    N e m m ers L e ct ur e, N ort h w est er n U ni v ersit y
                    E A RI E ( E ur o p e a n A s s o ci ati o n f or R e s e ar c h i n I n d u stri al Or g a ni z ati o n)
                    L e ct ur e

2008                Er wi n Pl ei n N e m m ers Pri z e
                    W. A. M a c ki nt os h L e ct ur e, Q u e e ns U ni v ersit y
                    Si m o n N e w c o m b L e ct ur e, J o h ns H o p ki ns U ni v ersit y

2007                Pr esi d e nt, W est er n E c o n o mi c Ass o ci ati o n I nt er n ati o n al ( W E AI)
                    N ati o n al S ci e n c e F o u n d ati o n Gr a nt o n “ M ar k et D esi g n ”

2006                El e ct e d t o t h e N ati o n al A c a d e m y of S ci e n c es
                    C oli n Cl ar k e L e ct ur e, E c o n o m etri c S o ci et y A ustr al asi a n M e eti n g
                    M a n c h ot L e ct ur e, U ni v ersit y of B o n n

2005                El e ct e d t o t h e E x e c uti v e C o m mitt e e of t h e E c o n o m etri c S o ci et y
                    El e ct e d Vi c e Pr esi d e nt of t h e W est er n E c o n o mi c Ass o ci ati o n
                    C h u n g- H u a L e ct ur er, A c a d e mi a Si ni c a ( T ai w a n)
                    Cl ar e n d o n L e ct ur er, O xf or d U ni v ersit y

2004                Fis c h er- S c h ul z L e ct ur er, E c o n o m etri c S o ci et y
                    K o o p m a ns L e ct ur er, Y al e U ni v ersit y
                    N ati o n al S ci e n c e F o u n d ati o n R e s e ar c h Gr a nt t o st u d y “ El e ctr o ni c A u cti o n
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                    M ar k ets ”
                    C o u n cil M e m b er, E c o n o m etri c S o ci et y

2003                N ati o n al S ci e n c e F o u n d ati o n R e s e ar c h Gr a nt t o st u d y “ C u m ul ati v e Off er
                    Pr o c ess es ”
                    L a n d a u E c o n o mi cs T e a c hi n g Pri z e, St a nf or d U ni v ersit y
                    El e ct e d t o t h e C o u n cil, G a m e T h e or y S o ci et y
                    Disti n g uis h e d E c o n o mist L e ct ur e, F e d er al C o m m u ni c ati o ns C o m missi o n

2001                H o n or ar y D o ct or at e, St o c k h ol m S c h o ol of E c o n o mi cs

2000                T a ussi g Visiti n g R es e ar c h Pr of ess or, H ar v ar d U ni v ersit y

1999                M urr a y S. J o h ns o n I n a u g ur al L e ct ur e, U ni v ersit y of T e x as
                    I n d ustr y C a n a d a Disti n g uis h e d L e ct ur e

1998                F ai n L e ct ur e, Br o w n U ni v ersit y
                    L a wr e n c e Kl ei n L e ct ur e, U ni v ersit y of P e n ns yl v a ni a
                    F ell o w ( 2 n d ti m e), C e nt er f or A d v a n c e d St u d y i n t h e B e h a vi or al S ci e n c es

1997                Al b ert o B aill er e s F o u n d er’ s L e ct ur e at I n stit ut o T e c n ol o gi c o A ut o n o m o d e
                    M e xi c o (I T A M)
                    Pl e n ar y L e ct ur er, E c o n o m etri c S o ci et y F ar E ast er n M e eti n g
                    Pl e n ar y L e ct ur er, A u str ali a n I n d u str y E c o n o mi c s M e eti n g, U ni v er sit y of
                    M el b o ur n e

1996                N o b el Pri z e M e m ori al L e ct ur e ( h o n ori n g d e c e a s e d N o b el l a ur e at e Willi a m
                    Vi c kr e y) at t h e R o y al S w e dis h A c a d e m y of S ci e n c es

1995                C h ur c hill L e ct ur es at C a m bri d g e U ni v ersit y
                    P oliti c al E c o n o m y S p e ci al L e ct ur e at H ar v ar d U ni v ersit y

1994                N ati o n al S ci e n c e F o u n d ati o n R es e ar c h Gr a nt t o st u d y “ C o m p ar ati v e St ati cs,
                    C o m pl e m e nt ariti es, C o or di n ati o n a n d C h a n g e, ” ( c o v eri n g 1 9 9 4 t o 1 9 9 7)
                    W o yti ns k y Disti n g uis h e d L e ct ur er, U ni v ersit y of Mi c hi g a n

1993                S e ni or R es e ar c h F ell o w, I nstit ut e f or P oli c y R ef or m
                    S hirl e y R. a n d L e o n ar d W. El y, Jr. Pr of e s s or of H u m a niti e s a n d S ci e n c e s,
                    St a nf or d U ni v ersit y

1992                F ell o w, A m eri c a n A c a d e m y of Arts a n d S ci e n c es
   C a s e 1:1:22-cv-10185-GHW-GS
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                    I nt er n ati o n al G u est S c h ol ar, K y ot o U ni v ersit y

1991                F ell o w, C e nt er f or A d v a n c e d St u d y i n t h e B e h a vi or al S ci e n c es
                    N ati o n al S ci e n c e F o u n d ati o n R es e ar c h Gr a nt t o st u d y “ T h e ori es of t h e Fir m
                    2 ” ( c o v eri n g 1 9 9 1 t o 1 9 9 4)

1990                C e nt er f or E c o n o mi c P oli c y R e s e ar c h Gr a nt t o st u d y “ T h e E c o n o mi c s of
                    M o d er n M a n uf a ct uri n g ”

1989                N ati o n al S ci e n c e F o u n d ati o n Gr a nt t o dir e ct pr o gr a m s f or t h e St a nf or d
                    I nstit ut e f or T h e or eti c al E c o n o mi cs
                    N ati o n al A c a d e m y of S ci e n c e s A w ar d t o l e ct ur e i n C hi n a o n e c o n o mi c s of
                    or g a ni z ati o ns

1988                Oli n Disti n g uis h e d L e ct ur er, Pri n c et o n U ni v ersit y
                    N ati o n al S ci e n c e F o u n d ati o n R es e ar c h Gr a nt t o st u d y “ T h e ori es of t h e Fir m ”
                    ( c o v eri n g 1 9 8 8 t o 1 9 9 1)
                    C e nt er f or E c o n o mi c P oli c y R es e ar c h Gr a nt

1987                Pri z e f or B e st P a p er of t h e Y e ar i n t h e Tr a n s a cti o n s of t h e S o ci et y of
                    A ct u ari es

1986                F or d Visiti n g Pr of ess or of E c o n o mi cs, U ni v ersit y of C alif or ni a, B er k el e y
                    J o h n Si m o n G u g g e n h ei m F ell o w s hi p t o st u d y “ E c o n o mi c T h e ori e s of
                    Or g a ni z ati o n ”

1985                Willi a ms Br ot h ers C h air i n M a n a g e m e nt St u di es, Y al e U ni v ersit y
                    N ati o n al S ci e n c e F o u n d ati o n R e s e ar c h Gr a nt t o st u d y “ O n t h e F or m al
                    E c o n o mi c T h e or y of Or g a ni z ati o ns ”
                    F ell o w of t h e I n stit ut e f or A d v a n c e d St u di e s, H e br e w U ni v er sit y of
                    J er us al e m
                    Pl e n ar y L e ct ur er at t h e Fift h W orl d C o n gr ess of t h e E c o n o m etri c S o ci et y

1984                F ell o w of t h e E c o n o m etri c S o ci et y
                    F ell o w of M ors e C oll e g e, Y al e U ni v ersit y

1983                R es e ar c h A w ar d, A ct u ari al E d u c ati o n a n d R es e ar c h F u n d
                    H o n or ar y M ast er of Arts d e gr e e, Y al e U ni v ersit y

1982                N ati o n al S ci e n c e F o u n d ati o n R e s e ar c h Gr a nt t o st u d y “ T h e Str u ct ur e of
     C a s e 1:1:22-cv-10185-GHW-GS
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                          I nf or m ati o n i n a Pr o d u cti v e Or g a ni z ati o n ”

1981                      I B M R es e ar c h C h air at N ort h w est er n U ni v ersit y
                          Visiti n g R es e ar c h Ass o ci at e, St a nf or d U ni v ersit y

1980                      L e o n ar d J. S a v a g e M e m ori al T h esis A w ar d
                          N ati o n al S ci e n c e F o u n d ati o n R e s e ar c h Gr a nt t o st u d y “I nf or m ati o n a n d
                          U n c ert ai nt y i n C o m p etiti v e Bi d di n g ”

1976                      S o ci et y of A ct u ari e s Tri e n ni al P a p er Pri z e f or b e st p a p er b y a n a ct u ar y
                          wit hi n fi v e of m e m b ers hi p, f or t h e p eri o d 1 9 7 3 – 7 5

1974                      F ell o w of t h e S o ci et y of A ct u ari es




P u bli c ati o ns

A rti cl es

“ E q uili bri u m S el e cti o n i n A u cti o n s a n d Hi g h St a k e s G a m e s, ” wit h J o s h u a M oll n er,
        E c o n o m etri c a , f ort h c o mi n g

“ R e d e si g ni n g S p e ctr u m Li c e ns es, ” wit h A nt h o n y Z h a n g a n d E. Gl e n W e yl, R e g ul ati o n , F all
        2 0 1 7.

“ E c o n o mi c s a n d C o m p ut er S ci e n c e of a R a di o S p e ctr u m R e all o c ati o n, ” wit h K e vi n L e yt o n-
        Br o w n a n d Il y a S e g al, Pr o c e e di n gs of t h e N ati o n al A c a d e m y of S ci e n c es , J ul y 2 0 1 7.

“ A d v er s e S el e cti o n a n d A u cti o n D e si g n i n I nt er n et Di s pl a y A d v erti si n g, ” wit h Ni c k Ar n o sti
        a n d M ariss a B e c k, A m eri c a n E c o n o mi c R e vi e w , O ct o b er 2 0 1 6.

“ A s c e n di n g Pri c e s a n d P a c k a g e Bi d di n g: F urt h er E x p eri m e nt al A n al y si s, ” wit h J o h n K a g el
        a n d Y u a n c h u a n Li e n, G a m es a n d E c o n o mi c B e h a vi or , M a y 2 0 1 4.

“ D e si g ni n g R a n d o m All o c ati o n M e c h a ni s m s: T h e or y a n d A p pli c ati o n s, ” wit h Eri c B u di s h,
        Y e o n- K o o C h e a n d F u hit o K oji m a, A m eri c a n E c o n o mi c R e vi e w , A pril 2 0 1 3.

“ Criti c al Iss u es i n M ar k et D esi g n, ” E c o n o mi c I n q uir y , A pril 2 0 1 1.

“ Si m plifi e d M e c h a ni s m s wit h a n A p pli c ati o n t o S p o n s or e d- S e ar c h A u cti o n s, ” G a m e s a n d
        E c o n o mi c B e h a vi or , S e pt e m b er 2 0 1 0.

“ A s c e n di n g Pri c e s a n d P a c k a g e Bi d di n g: A T h e or eti c al a n d E x p eri m e nt al A n al y si s, ” wit h
        Y u a n c h u a n Li e n a n d J o h n K a g el, A m eri c a n E c o n o mi c J o ur n al: Mi cr o e c o n o mi cs , A u g ust
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